                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 IN RE:                                                )       3:09-CV-06 3:09-CV-09
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 TENNESSEE VALLEY AUTHORITY                            )       3:09-CV-511 3:09-CV-517
 ASH SPILL CASES                                       )       3:09-CV-528 3:09-CV-529
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                                                       )       (VARLAN/GUYTON)

                                  MEMORANDUM AND ORDER

          These related actions are before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

 Court, and by the referral of the Honorable Thomas A. Varlan, United States District Judge, for

 disposition of matters pertaining to discovery.




Case 3:09-cv-00006-TAV-HBG             Document 103        Filed 08/11/10     Page 1 of 2      PageID
                                             #: 2330
        On July 14, 2010, the Court entered an Order [Doc. 186, 3:09-CV-09], instructing the

 Plaintiffs to “form a Plaintiffs’ Coordination Committee for coordination of deposition discovery.”

 The Plaintiffs were to file a “list of the members of the Plaintiffs’ Coordination Committee and a

 list of the Designated Discovery Cases on or before August 6, 2010.”

        On August 6, 2010, Attorney Elizabeth Alexander filed Plaintiffs’ Agreed Coordination

 Committee for Coordination of Deposition Discovery, [Doc. 197, 3:09-CV-09], along with an

 affidavit stating that the proposed committee had been submitted to counsel via email. On the same

 day, Attorney Gordon Ball submitted Plaintiff Larry Mays’ Objection to Proposed “Plaintiffs’

 Agreed Coordination Committee for Coordination of Deposition Discovery,” [Doc. 196, 3:09-CV-

 09], objecting, in part, to the proposed coordination committee. The parties have filed other

 supplemental materials, [e.g., Docs. 198 and 199, 3:09-CV-09], which the Court has fully reviewed.

        Having reviewed the filings, the Court finds the Plaintiffs’ Agreed Coordination Committee

 for Coordination of Deposition Discovery is well-taken. The proposed committee will enable

 counsel to represent their various clients’ positions, while facilitating efficient disposition of

 discovery. Accordingly, the Plaintiffs’ Agreed Coordination Committee for Coordination of

 Deposition Discovery will be ENTERED FORTHWITH.                       All objections thereto are

 OVERRULED.

        IT IS SO ORDERED.
                                                      ENTER:


                                                           s/ H. Bruce Guyton
                                                      United States Magistrate Judge




Case 3:09-cv-00006-TAV-HBG           Document 103        Filed 08/11/10      Page 2 of 2     PageID
                                           #: 2331
